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AO 2458 (05-MA) (Rev. 06/05) Criminal Judgment
                Attachment (Page 3) - Statement of Reasons - D. Massachusetts 10/05


DEFENDANT:   ERIC SERRANO                                                                                                   Judgment -        Page    9    of      10
CASE NUMBER: 1: 10 CR 10129 - 001 - RWZ
DISTRICT:     MASSACHUSETTS
                                                           STATEMENT OF REASONS
VI    COURT DETERMINATION FOR SENTENCE OUTSIDE THE ADVISORY GUIDELINE SYSTEM
      (Check all that apply.)
      A     The sentence imposed is (Check only one.):
            D below the advisory guideline range
            D above the advisory guideline range
      B     Sentence imposed pursuant to (Check all that apply.):
                         Plea Agreement (Check all that apply and check reason(s) below.):
                         D      binding plea agreement for a sentence outside the advisory guideline system accepted by the court
                         D      plea agreement for a sentence outside the advisory guideline system, which the court finds to be reasonable
                         D      plea agreement that states that the government will not oppose a defense motion to the court to sentence outside the advisory guideline
                                system

             2           Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                         D      government motion for a sentence outside of the advisory guideline system
                         D      defense motion for a sentence outside of the advisory guideline system to which the government did not object
                         D      defense motion for a sentence outside of the advisory guideline system to which the government objected

            3            Other
                         D      Other than a plea agreement or motion by the parties for a sentence outside of the advisory guideline system (Check reason(s) below.):

      C      Reason(s) for Sentence Outside the Advisory Guideline System (Check all that apply.)

             D the nature and circumstances of the offense and the history and characteristics of the defendant pursuant to 18 U.S.c. § 3553(a)(I)
             D to reflect the seriousness of the offense, to promote respect for the law, and to provide just punishment for the offense (18 USc. § 3553(aX2)(A))
             D to afford adequate deterrence to criminal conduct (18 U.Sc. § 3553(aX2)(8))
             D to protect the public from further crimes of the defendant (18 U.Sc. § 3553(aX2)(C))
             D to provide the defendant with needed educational or vocational training, medical care, or other correctional treatment in the most effective manner
                 (18 US.c. § 3553(aX2XD))
             D to avoid unwarranted sentencing disparities among defendants (18 US.c. § 3553(a)(6))
             D to provide restitution to any victims of the offense (18 USc. § 3553(aX7))

       D     Explain the facts justifying a sentence outside the advisory guideline system. (UseSection VIII if necessary.)
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